
310 N.W.2d 520 (1981)
209 Neb. 717
STATE of Nebraska ex rel. NEBRASKA STATE BAR ASSOCIATION, Relator,
v.
Paul M. CONLEY, Respondent.
No. 44436.
Supreme Court of Nebraska.
September 18, 1981.
Paul L. Douglas, Atty. Gen., Lincoln, for relator.
Paul E. Galter, Lincoln, for respondent.
PER CURIAM.
The respondent, Paul M. Conley, has filed with this court a conditional admission of guilt of the formal charges filed against him by the Counsel for Discipline of the Nebraska State Bar Association.
Respondent is charged with the violation of Canon 6, DR 6-101(A)(3), and Canon 9, DR 9-102(A)(1) and (2) and DR 9-102(B)(4), and with a violation of his license to practice law as provided in Neb.Rev.Stat. § 7-104 (Reissue 1977).
While representing a claimant in a personal injury action, the respondent recovered *521 an award in the amount of $3,500 from the State Farm Mutual Automobile Insurance Company. Respondent was issued a check draft for $3,500 on September 24, 1980. On September 29, 1980, respondent deposited the check draft in his business account. Early in October respondent notified claimant that he had received the settlement funds and would deposit them into his trust account with final dispersal to be made on October 20, 1980. Arrangements were also made for the purchase of a Certificate of Deposit in the amount of $850 for placement in a conservatorship. On October 20, 1980, respondent failed to disperse the assets of the settlement. On November 16, 1980, respondent issued checks on his business account to claimant, claimant's wife, and claimant's daughter as a final disbursement of the settlement funds. The check which was payable to claimant was returned unpaid by reason of insufficient funds on November 21, 1980. The check cleared respondent's account on November 24, 1980. On January 2, 1981, the Certificate of Deposit was finally purchased for the conservatorship.
The respondent, having failed to use a trust account for client's funds and having failed to properly transmit client's funds to the client, is guilty of unprofessional conduct and is hereby publicly reprimanded for conduct violative of the Canons of Ethics and of his oath as a member of the bar of this court.
JUDGMENT OF REPRIMAND.
